







NUMBER 13-01-322-CR

COURT OF APPEALS

THIRTEENTH DISTRICT OF TEXAS

CORPUS CHRISTI

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DAVID SILVA , Appellant,

v.


THE STATE OF TEXAS, Appellee.

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On appeal from the 319th District Court 

of Nueces County, Texas.

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O P I N I O N



Before Justices Dorsey, Hinojosa, and Castillo

Opinion Per Curiam



Appellant, DAVID SILVA , perfected an appeal from a judgment entered by the  319th District Court of Nueces County,
Texas,  in cause number 00-CR-1167-G .  Appellant has filed a motion to dismiss the appeal.  The motion complies with
Tex. R. App. P. 42.2(a).

The Court, having considered the documents on file and appellant's motion to dismiss the appeal, is of the opinion that
appellant's motion to dismiss the appeal should be granted.  Appellant's motion to dismiss the appeal is granted, and the
appeal is hereby DISMISSED.

PER CURIAM

Do not publish.

Tex. R. App. P. 47.3.

Opinion delivered and filed this

the 12th day of July, 2001.




